                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:20-CV-149-MOC-DCK

 MAACO FRANCHISOR SPV, LLC, successor                   )
 in interest to, MAACO FRANCHISING, LLC,                )
                                                        )
                Plaintiff,                              )
                                                        )
    v.                                                  )   ORDER
                                                        )
 KENNEVAN, LLC, ZACHARY LAFFERTY,                       )
 and KARA LAFFERTY,                                     )
                                                        )
                Defendants.                             )
                                                        )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 21) filed by Kathleen K. Lucchesi, concerning Gretchen L.

McGill on May 20, 2020. Gretchen L. McGill seeks to appear as counsel pro hac vice for

Defendants Kennevan, LLC, Zachary Lafferty and Kara Lafferty. Upon review and consideration

of the motion, which was accompanied by submission of the necessary fee and information, the

Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 21) is GRANTED. Gretchen L.

McGill is hereby admitted pro hac vice to represent Defendants.


                                 Signed: May 20, 2020




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